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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                              )
JOSEPH SCLAFANI, MICHAEL                      )
FEINSTEIN, and BRET CAPPOLA                   )      C.A. No. ________________
                                              )
                        Plaintiffs,           )
                                              )
                 v.                           )
                                              )
CAROLE A. MICI, in her official               )
capacity as Commissioner of the               )
Massachusetts Department of Correction, )
DOUGLAS DEMOURA, in his official              )
capacity as Superintendent of                 )
MCI-Cedar Junction, and STEVE SILVA, )
in his official capacity as Superintendent of )
MCI-Norfolk,                                  )
                                              )
                        Defendants.           )
                                              )



               DECLARATION OF ROBERT FREDERICKSON III
          IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR A
      TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

I, Robert Frederickson III, hereby declare and state as follows:

       1.      I have been a member of the bar of the Commonwealth of Massachusetts in good

standing since 2007. I am a partner at the law firm Goodwin Procter LLP, which together with

the American Civil Liberties Union, Foundation of Massachusetts, Inc., represents Plaintiffs

Joseph Sclafani, Michael Feinstein, and Bret Cappola in this matter.

       2.      I make this declaration in support of Plaintiffs’ Emergency Motion for a

Temporary Restraining Order and Preliminary Injunction.
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       3.      Attached as Exhibit 1 is a true and correct copy of The President’s Commission

on Combating Drug Addiction and the Opioid Crisis, available at https://www.whitehouse.gov/

sites/whitehouse.gov/files/images/Final_Report_Draft_11-1-2017.pdf.

       4.      Attached as Exhibit 2 is a true and correct copy of the Letter from Alexandra D.

Valenti, to Carole A. Mici, Commissioner of the Massachusetts Department of Correction, Kevin

Stanton, Deputy Executive Director of the Massachusetts Executive Office of Public Safety and

Security, Douglas DeMoura, Superintendent of MCI-Cedar Junction, and Steve Silva,

Superintendent of MCI-Norfolk, dated December 6, 2019. This letter was sent via email and

Federal Express on December 6, 2019 to all addressees.

       5.      Attached as Exhibit 3 is a true and correct copy of the Letter from Stephanie Y.

Sullivan, Assistant Deputy Commissioner, Clinical Services, to Alexandra D. Valenti, dated

December 13, 2019. This letter was sent via email on December 13, 2019 to the addressee.

       6.      Attached as Exhibit 4 is a true and correct copy of the Letter from Andrew E.

Lelling, United States Attorney for the District of Massachusetts, to David Solet, General

Counsel, Executive Office of Public Safety and Security and Jesse Caplan, General Counsel,

Executive Office of Health and Human Services, dated March 16, 2018, and the Letter from

Andrew E. Lelling, United States Attorney for the District of Massachusetts, to Richard Jeffery,

Attorney, Essex County Sheriff’s Department, dated Oct. 9, 2018.

       7.      Attached as Exhibit 5 is a true and correct copy of the Massachusetts Department

of Correction’s PowerPoint, Medication Assisted Treatment, dated September 12, 2019.

       8.      Attached as Exhibit 6 is a true and correct copy of the Massachusetts Department

of Correction, Request for Responses: Medication Assisted Treatment Services to Massachusetts

Prison Population, dated November 5, 2019.



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       9.     Attached as Exhibit 7 is a true and correct copy of excerpts of Joseph Sclafani’s

Massachusetts Department of Correction medical records.

       10.    Attached as Exhibit 8 is a true and correct copy of excerpts of Michael Feinstein’s

Massachusetts Department of Correction medical records.

       11.    Attached as Exhibit 9 is a true and correct copy of excerpts of Bret Cappola’s

Massachusetts Department of Correction medical records.

       12.    Attached as Exhibit 10 is a true and correct copy of the Receipt by the Health

Service Administrator of Medical/Mental Inmate Grievance Form from Dawn M. Struzzieri,

Health Services Administrator of the Massachusetts Department of Correction, to Joseph

Sclafani, dated October 22, 2019.

       13.    Attached as Exhibit 11 is a true and correct copy of the Letter from Dawn M.

Struzzieri, Health Services Administrator of the Massachusetts Department of Correction, to Bret

Cappola, dated October 29, 2019.

       14.    Attached as Exhibit 12 is a true and correct copy of the Massachusetts

Department of Correction Estimated Procurement Calendar for Medication Assisted Treatment

Services to Massachusetts Prison Population.

Sworn under the pains and penalties of perjury, this 19th day of December, 2019.


                                                    /s/ Robert Frederickson III
                                                    Robert Frederickson III
                                                    GOODWIN PROCTER LLP
                                                    100 Northern Avenue
                                                    Boston, MA 02210
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                                                    Attorney for Joseph Sclafani, Michael
                                                    Feinstein, and Bret Cappola

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